Case 1-21-424545-JMM DOC Zo-L Filed 1O/eo0/24l entered LO/20/241 14i527160

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

BROOKLYN DIVISON
x
IN RE: Chapter 11
ENGLISH ESTATES LLC. Case No.: 1-21-42343-JMM
Debtors. Judge: Hon. Jil Mazer-Marino
x

I, Yonel Devico, being of lawful age and being first duly sworn on oath, states and deposes
as follows:

1. I am over 18 years of age. I have personal knowledge of the facts in this Affidavit
based on my review of the business records defined below, am competent to testify about such
facts, and would do so if I appeared as a witness in the above-styled action.

2. Iam a Vice President at Windward Bora LLC (““Windward Bora’). As such, I am
authorized to make this Affidavit in support of the motion.

3; In the regular performance of my job functions, I have access to and am familiar
with the business records (the “Records”) relating to the mortgage loan dated November 1, 2005
in the amount of $102,000.00 in favor of First Franklin A Division of Nat City Bank of IN (the
“NCB Loan”). Attached to the Declaration of Seth D. Weinberg (the “Weinberg Decl.”) as
Exhibits D and E are true and correct copies of the NCB Note and the NCB Mortgage (the “Note
and Mortgage”). The Borrower on the NCB Loan was Ivan Lugo (“Lugo” or the “Borrower’”). See
id.

4. The Records (which include but are not limited to, data compilations, electronically
imaged documents, and others) are made at or near the time of events or activities reflected in such

records by, or from information provided by, persons with knowledge of the activities and the
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9. In addition to the aforementioned default, the Borrower defaulted under the terms
of the Note and Mortgage by failing to tender the payments required beginning with the payment
due on January 1, 2014 and all subsequent payments thereafter. See Weinberg Decl. Exhibit J.

10. I have reviewed our Records, and no payment of any kind has been received
concerning the NCB Loan since January 1, 2014.

WHEREFORE, it is respectfully requested that Windward Bora LLC’s motion be granted

in its entirety, with such other and further relief that the Court may deem just and proper.

 

 

 

a
Dated: L (
STATE OF FLORIDA )
) ss.
COUNTY OF MIAMI-DADE )

OnOctorer (3 __ ,2021, before me,M at M AVIN Vom! Notary Public in
and for said County and State, personally appeared ; Over Deco , who is personally
known to me to be the person whose name is subscribed to the within instrument and
acknowledged to me that he executed the same in his authorized capacity, and that by his
signature on the instrument the person, or the entity upon behalf of which the person acted,
executed the instrument.

My Commission Expires: ({h

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Notary Public

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[NOTARY SEAL]

 

>= COMMISSION # 66265229
aesrees EXPIRES: Nov, 29, 2022
3 “niu Bonded Thru Aaron Notary
